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Via ECF
Judge Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Courtroom 6C South
Brooklyn, New York 11201

                                                                     Re:               Falls Lake Nat’l Ins. Co.v. Kalnitech Constr. Corp. et. al.
                                                                                       Docket No: 1:22-cv-01473-KAM-PK
                                                                                       Our File No: 19-208

Dear Judge Matsumoto:

       Pursuant to Your Honor’s Order dated February 13, 2025, submitted herein please find
the complete deposition transcripts of the following witnesses:

        1.      David Kleeman dated April 5, 2023;
        2.      Kostas Stoupakis dated May 11, 2022;
        3.      Stalin Rodrigo Reyes Espinoza dated November 17, 2021 and March 24, 2022; and
        4.      Dwayne Hudson dated April 11, 2022.

                                                                                       Respectfully submitted,
                                                                                       MIRANDA SLONE SKLARIN VERVENIOTIS LLP
                                                                                       s/Steven Verveniotis

                                                                                       Steven Verveniotis

cc:             All counsel of record
